 8:12-cr-00107-LSC-TDT         Doc # 75      Filed: 09/21/12     Page 1 of 1 - Page ID # 166




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                  8:12CR107
                                                )
       v.                                       )   FINDINGS AND RECOMMENDATION
                                                )               AND
TAMMY L. SHUCK and                              )              ORDER
CHRISTOPHER J. TIERNEY,                         )
                                                )
                      Defendants.               )


       At the conclusion of the hearing on September 21, 2012, on the defendant’s Motions
for Bill of Particulars, to Dismiss, and to Suppress, I stated my conclusions on the record and
my decision to recommend that the motion to dismiss and suppress be denied and that the
Motion for a Bill of Particulars is denied. In accordance with that announcement,


       IT IS RECOMMENDED to the Honorable Laurie Smith Camp, Chief United States
District Judge, that the motions to dismiss, Filing Nos. 56 and 62, be denied and that the
motions to suppress, Filing Nos. 58 and 64, be denied as set forth in the oral Findings and
Recommendation.
       IT IS ORDERED that the motions for a Bill of Particulars, Filing Nos. 54 and 60, are
denied as set forth in the oral Findings.


       FURTHER, IT IS ORDERED:
       Pursuant to NECrimR 59.2 any objection to this Findings and Recommendation and
Order shall be filed with the Clerk of the Court within fourteen (14) days after the transcript is
available to counsel for reading in the clerk’s office. Failure to timely object may constitute a
waiver of any such objection. The brief in support of any objection shall be filed at the time of
filing such objection. Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       Dated this 21st day of September, 2012.
                                             BY THE COURT:
                                             s/ Thomas D. Thalken
                                             United States Magistrate Judge
